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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF INDIANA

  IN RE:                                                  )       CASE NO. 10-93904-BHL-11
                                                          )
  EASTERN LIVESTOCK CO., LLC,                             )       Hon. Basil H. Lorch, III
                                                          )
                Debtor.                                   )
                                                          )

                                     NOTICE OF SERVICE


        COME NOW CPC Livestock, LLC; Alabama Livestock Auction, Inc.; Sealy And Sons

 Livestock, LLP; Ashville Stockyard, Inc.; Athens Stockyard, LLC; Billingsley Auction Sale, Inc.;

 Carroll County Livestock Sales Barn, Inc.; E4 Cattle Co., LLC; Ed Edens; Macon Stockyards,

 Inc.; Edwin A. Strickland d/b/a Strickland Farms; Robert Rawls d/b/a Robert Rawls Livestock;

 Peoples Livestock Auction, Inc.; Ernie Elder; Vernon Inman; 2Z Cattle; and Glen Franklin

 (collectively, “Livestock Creditors”) to give NOTICE OF SERVICE of Third Party Subpoena

 Duces Tecum on First Bank and Trust, Lebanon, VA, a copy of which is attached as Exhibit 1.



        Respectfully submitted this 22nd day of January 2014,


                                                     /s/ W. Scott Newbern
                                                     W. Scott Newbern
                                                     W. SCOTT NEWBERN, PL
                                                     2982 East Giverny
                                                     Tallahassee, FL 32309
                                                     (T) 850.591.1707
                                                     (F) 850.894.0871
                                                     wsnewbern@msn.com

                                                     COUNSEL FOR LIVESTOCK
                                                     CREDITORS
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                                   CERTIFICATE OF SERVICE

        I hereby certify that on this 22nd day of January 2014 a copy of the foregoing was filed

 electronically. Notice of this filing will be sent to all parties through the Court’s Electronic Case

 Filing System. Parties may access this filing through the Court’s system.


                                                       /s/ W. Scott Newbern
                                                       W. SCOTT NEWBERN
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                       Exhibit 1
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B257 (Form 257 – Subpoena to Produce Documents, Information, or Objects or To Permit Inspection in a Bankruptcy Case or Adversary Proceeding) (12/13)

                                       UNITED STATES BANKRUPTCY COURT
                     SOUTHERN
  _________________________________________                        INDIANA
                                            District of _________________________________________
       Eastern Livestock Co., LLC
In re __________________________________________
                                    Debtor
                                                                                               10-93904-BHL-11
                                                                                     Case No. _____________________
          (Complete if issued in an adversary proceeding)
                                                                                              11
                                                                                     Chapter ___________
_________________________________________
                                    Plaintiff
                         v.                                                          Adv. Proc. No. ________________
__________________________________________
                                  Defendant

         SUBPOENA TO PRODUCE DOCUMENTS, INFORMATION, OR OBJECTS OR TO PERMIT
         INSPECTION OF PREMISES IN A BANKRUPTCY CASE (OR ADVERSARY PROCEEDING)
       Daniel Donnellon, ESQ., on behalf of First Bank and Trust, Lebanon, VA
  To: ________________________________________________________________________________________
                                             (Name of person to whom the subpoena is directed)

 XX Production: YOU ARE COMMANDED to produce at the time, date, and place set forth below the following
  documents, electronically stored information, or objects, and to permit inspection, copying, testing, or sampling of the
  material:

  PLACE                                                                                                      DATE AND TIME
   W. Scott Newbern, PL, 2982 East Giverny, Tallahassee, FL 32309                                            On or before February 5, 2014


      Inspection of Premises: YOU ARE COMMANDED to permit entry onto the designated premises, land, or
  other property possessed or controlled by you at the time, date, and location set forth below, so that the requesting party
  may inspect, measure, survey, photograph, test, or sample the property or any designated object or operation on it.
  PLACE                                                                                                      DATE AND TIME




          The following provisions of Fed. R. Civ. P. 45, made applicable in bankruptcy cases by Fed. R. Bankr. P. 9016, are
  attached – Rule 45(c), relating to the place of compliance; Rule 45(d), relating to your protection as a person subject to a
  subpoena; and Rule 45(e) and 45(g), relating to your duty to respond to this subpoena and the potential consequences of not
  doing so.
         January 22. 2014
  Date: _____________
                                    CLERK OF COURT                                            W. SCOTT NEWBERN, PL

                                                                                     OR
                                    ________________________                                 /s/ W. Scott Newbern, Esq.
                                                                                            ________________________
                                    Signature of Clerk or Deputy Clerk                           Attorney’s signature
                                                                                             By:    W. Scott Newbern, Esq.
  The name, address, email address, and telephone number of the attorney representing (name of party)
  ____________________________ , who issues or requests this subpoena, are:

                                   Notice to the person who issues or requests this subpoena
  If this subpoena commands the production of documents, electronically stored information, or tangible things, or the
  inspection of premises before trial, a notice and a copy of this subpoena must be served on each party before it is served on
  the person to whom it is directed. Fed. R. Civ. P. 45(a)(4).
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                          UNITED STATES BANKRUPTCY COURT
                           SOUTHERN DISTRICT OF INDIANA
                                NEW ALBANY DIVISION


 IN RE:                                              )      Chapter 11
                                                     )
 EASTERN LIVESTOCK CO., LLC,                         )      CASE NO. 10-93904-BHL-11
                                                     )
                Debtor.                              )      Hon. Basil H. Lorch, III
                                                     )
                                                     )

                                          EXHIBIT A
                     THIRD PARTY SUBPOENA DUCES TECUM
                       FOR INFORMATION AND RECORDS



 TO:      Daniel Donnellon, Esq. on behalf of FIRST BANK and TRUST, Lebanon, VA
          Faruki, Ireland & Cox, PLL
          201 E. Fifth Street, Suite 1420
          Cincinnati, OH 45202
          (T) 513-632-0308
          (F) 513-632-0319

        Documents requested below may be produced in standard electronic portable document
 format (.pdf) or other format agreed upon instead of paper copies.

                                         DEFINITIONS

         A.      Unless otherwise stated in a particular request, “You,” and “Your” shall mean
 FIRST BANK AND TRUST CO., Lebanon, VA a/k/a “Plaintiff” in the “Subject Action”
 identified herein.

        B.      “Fifth Third” means Fifth Third Bank, a national bank with headquarters located
 at 38 Fountain Square Plaza, Md., #10 at 76, Cincinnati, Ohio 45263 a/k/a “Defendant” in the
 Subject action identified herein.

        C.      “Subject Action” shall mean the case titled First Bank And Trust Company v.
 Fifth Third Bank, et al., Common Pleas Court of Hamilton County, OH Case No. A1203855,
 filed May 16, 2012.
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        D.      “ELC” or “Eastern” shall mean Eastern Livestock Co., LLC, a/k/a “Debtor” in
 the matter In Re Eastern Livestock, LLC, Southern District of Indiana, New Albany Division,
 Case No. 10-93904 (“Bankruptcy Action”), and includes its affiliates, members, officers,
 employees, attorneys, agents, accountants, and representatives of any kind.

         E.      “Trustee” means and refers to James A. Knauer, as the duly appointed Chapter
 11 trustee for Eastern Livestock Co., LLC,” in the Bankruptcy Action (In Re Eastern Livestock,
 LLC, Southern District of Indiana, New Albany Division, Case No. 10-93904) and includes his
 attorneys, agents, and representatives of any kind.

         F.     “Receiver” means and refers to Elizabeth M. Lynch of Development Specialists,
 Inc., appointed by the Hamilton County Court of Common Pleas in the Receivership.

       G.     “Receivership” means and refers to the lawsuit filed by Fifth Third Bank in
 Hamilton County Court of Common Pleas styled Fifth Third Bank v. Eastern Livestock Co.,
 LLC, Case No. A1010267.

         H.     “Stockyards Act” means the Packers and Stockyards Act of 1921, 7 U.S.C. §§
 181 et seq., and regulations 9 C.F.R. §§201 et seq.

        I.      "Communications" is used here in the broadest sense consistent with the Florida
 Rules of Civil Procedure and includes, but is not limited to, any and all conversations, meetings,
 discussions and any other occasion for verbal exchange, whether in person or by telephone,
 together with all letters, memoranda, telegrams, email, facsimile, cables, and other writings or
 documents regardless of their form or method of delivery and storage.

         J.      "Concerning," "Referring to" or "Relating to" mean connected with, referring to,
 concerning, pertaining to, associated with, describing, evidencing, construing, containing or
 constituting in broadest sense consistent with the Federal Rules of Civil Procedure or applicable
 state Rule of Civil Procedure.

         K.       "Document" or "documents" mean the original and any identical or non-identical
 copy, regardless of origin or location, of any writing or record of any type or description,
 including, but not limited to, any books, pamphlets, periodicals, letters, memoranda, telegrams,
 telefaxes, email or electronic mail, reports, records, handwritten or other notes, working papers,
 charts, graphs, checks, statements, receipts, returns, statistics, minutes, contracts, interoffice and
 intra-office communications, offers, notations, (in any form, of conversations, meetings or other
 communications), worksheets, discs, data sheets, correspondence, analyses, diaries, messages
 (including, but not limited to, telephone conversations or conferences), drawings, photographs,
 film impressions, voice or tape recordings, videotapes or any other data compilations from which
 information can be obtained or any other written, recorded, transcribed, punched, taped, filed,
 electronically stored, imputed or graphic matter, however produced or reproduced, and any
 drafts, alterations, modifications, changes, and amendments of any of the foregoing, to which
 you have or had access.



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         PROTECTIVE ORDERS, OBJECTIONS, and DOCUMENTS WITHHELD

        1.     For any documents produced that are subject to a Protective Order, please so state and
 provide a copy of the applicable Protective Order along with the responsive documents.

         2      If YOU object to part of a DOCUMENT request and refuse to answer that part, state
 YOUR objection and answer the remaining portion of that DOCUMENT request. If YOU object to
 the scope or time period of a DOCUMENT request and refuse to answer for that scope or time
 period, state YOUR objection and answer the DOCUMENT request for the scope or time period
 YOU believe is appropriate.

        3.      With respect to ANY requested DOCUMENT which YOU refuse to produce in
 response to this Subpoena Duces Tecum, please state:

                a.      the full identity of the DOCUMENT including:

                        i.      date of the DOCUMENT;
                        ii.     its title (if ANY);
                        iii.    its authors, addressees, recipients or parties;
                        iv.     the nature of the DOCUMENT (e.g., letter, memorandum, etc.);
                        v.      the individual or source from whom or which YOU obtained it; and
                        vi.     its present location and identity of its custodian;

                b.      whether YOUR objection or refusal is directed to the entire DOCUMENT or
        part thereof;

                c.      if YOUR objection or refusal goes to part of the DOCUMENT, specify the
        specific parts of the DOCUMENT to which YOUR objection or refusal is directed; and

                d.      the specific factual basis which gives rise to the objection or refusal; and the
        specific legal ground on which the objection or refusal is based.

         4.      If ANY of the following requested DOCUMENTS cannot be located or produced
 after exercising due diligence to secure the information, please so state and respond to the extent
 possible, specifying YOUR inability to respond fully, and stating whatever information YOU have
 concerning the non-produced DOCUMENTS.




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                         DOCUMENT AND IDENTIFICATION REQUESTS

        1.          Please produce all documents and records—including without limitation all

 depositions, transcripts, exhibits, filings—relating to Plaintiff and/or Eastern Livestock Company,

 LLC obtained, referenced, or otherwise employed in the Subject Action (i.e. First Bank and Trust

 Company v. Fifth Third, et al.) that are not subject to either attorney client or work product

 privileges, including specifically all documents and records with respect to Fifth Third’s Motion For

 Summary Judgment and all Exhibits, First Bank’s Response and all Exhibits, and Fifth Third’s

 Reply and all Exhibits.

        2.          Please produce all documents and records—including without limitation all

 depositions, transcripts, exhibits, filings—relating to Plaintiff and/or Eastern Livestock Company,

 LLC obtained, referenced, or otherwise employed in the Bankruptcy Action (i.e. In Re: Eastern

 Livestock Co., LLC) that are not subject to either attorney client or work product privileges,

 specifically all documents and records with respect to Fifth Third’s knowledge and records from

 2005 to the present relating to:

             (i)       Eastern check kiting activity, software kiting alerts, and the “Kiting Account

                       Approval Form,” AND

             (ii)      Field investigations and reports regarding Eastern cattle “inventory” and

                       “accounts receivables,” collateralization of Eastern cattle “inventory” and

                       “accounts receivables” for Fifth Third’s loans, and the Packers and Stockyards

                       Act.

        3.          For responsive documents subject to either attorney client or work product privileges

 please provide the appropriate privilege log.




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      Respectfully submitted this __22nd__ day of January 2014.


                                                   /s/ W. Scott Newbern
                                                   W. SCOTT NEWBERN
                                                   Florida Bar No. 0098108
                                                   W. SCOTT NEWBERN, P. L.
                                                   2982 East Giverny Circle
                                                   Tallahassee, Florida 32309
                                                   850.591.1707
                                                   850.894.0871 Facsimile

                                                   COUNSEL FOR PLAINTIFFS




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